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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                                :   Case No. 3:17-CV-72

                  Plaintiff                               :   Judge MOON


                                                          :
           -v-

    JASON KESSLER ET AL.                                  :

                                                          :
                  Defendants


                  MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT



          Now comes defendant Robert “Azzmador” Ray and moves the Court to dismiss the

    Plaintiff’s claims against him pursuant to FRCP 12.


                                                Respectfully Submitted,


                                                s/ Elmer Woodard
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                                                Trial Attorney for Defendant




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                                     CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on December 7, 2017 upon:

       All parties of record. One party is entitled to or has requested service by other means
       and said party has been served by regular US mail as follows:
       Mr. Michael Enoch Peinovich
       PO Box 1069
       Hopewell Junction, NY 12533      .

                                                       s/ Elmer Woodard

                                                       E. Woodard (VSB 27734)




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